                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE
                             AT NASHVILLE


RACHEL WELTY and              §
AFTYN BEHN,                   §
                              §
     Plaintiffs,              §
                              §
v.                            §                   Case No. 3:24-cv-00768
                              §
BRYANT C. DUNAWAY,            §
JASON LAWSON,                 §
JENNINGS H. JONES,            §
ROBERT J. CARTER,             §
RAY WHITLEY, ROBERT J. NASH,  §
GLENN FUNK, STACEY EDMONSON, §
BRENT COOPER, RAY CROUCH, and §
HANS SCHWENDIMANN,            §
                              §
     Defendants.              §


  PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER AND
                   PRELIMINARY INJUNCTION


      Come now the Plaintiffs, through counsel, and pursuant to Rules 65(a) and (b) of

the Federal Rules of Civil Procedure, respectfully move this Court to:

      1.     Issue a temporary restraining order restraining the Defendants from

enforcing Section 1 of Public Chapter No. 1032 against the Plaintiffs; and

      2.     Issue a preliminary injunction preliminarily enjoining the Defendants from

enforcing Section 1 of Public Chapter No. 1032.

      A memorandum of law supporting this relief is being filed contemporaneously.

The Defendants have been consulted regarding this motion and are being served with it

contemporaneously. The Plaintiffs understand that the relief sought here is opposed.



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                                         Respectfully submitted,

                                         /s/ Daniel A. Horwitz__________
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                                         Counsel for Plaintiffs




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                             CERTIFICATE OF SERVICE

       I hereby certify that on this 26th day of June, 2024, a copy of the foregoing and all
exhibits and attachments were sent via CM/ECF, USPS Mail, and/or via email, to:

       Steven J. Griffin
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       Counsel for Defendants


                                                  /s/ Daniel A. Horwitz__________
                                                  Daniel A. Horwitz, BPR #032176




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